                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

Andrea McKinley,                             Civil Action No. 3:21-cv-241

                   Plaintiff,                 NOTICE OF REMOVAL

       v.

UBS Financial Services, Inc.,

                   Defendant.


                                 EXHIBIT A




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   v 1 M 1 L- vl Irvl\ 1 1 1 VF1I~L.LIIYH                                                                   ~             G1   L~ ~            ~    5.j.L o


                 Mecklenburg                                                                                       In The General Court Of Justice
                                                CoUnty
                                                                    :i    f:. s~~                               ❑ District     ® Superior Court Division
 Name OfP1ainGff                                                      -
  Andrea McKinley
                                                                                     ii~ 4 ~          APPLICATION AND ORDER
                                     VERSUS                                            C ~. ;           EXTENDING TIME TO
Name OfDefendant
  UBS Financial Services, Inc.                                                                           FILE COMPLAINT
                                                                                     _   w --                                                      G.S. 1A-1, Rule 3

                              E                                       APPLICATION
   The undersigned requests permission to file a complaint in this action within twenty (20) days of any order granting this
   Application, as provided in Rule 3 of the Rules of Civil Procedure. The nature and purpose of the action are:
Name And Purpose Of The Action
 for failure to accommodate and discrimination based on disability, pursuant to the Americans with Disabilities Act of 1990, as amended,
 and for defamation, blacklisting in employment, and any related cause of action.




Date                                       Signature                                                                                   ❑ Applicant
              04-05-2021,                                                                                                              ® Attomey For Applicant
                                                                           ORDER
  The Court states that the nature and purpose of this action are as set forth above.

  Therefore, it is ORDERED that permission is granted to the applicant to file a complaint in this action up to and including
  the date shown below.

File Complaint On Or Before                                                     Date Of Order
                                    (    Z.
                              1 ' `" o •    (                                                     ~~~ it•
                                                                                Signature
                (Date must be within 20 days of date of Order.)
                                                                                                            ~

                                                                                4R       Assist   Clerk OP Superior Court      ❑   Clerk Of Superior Court




 NOTE:     Under Rule 3 of the Ru/es of Civil Procedure, upon entry of this Order, a summons shall be issued and the summons and a copy of this Order
           must be served in accordance with the provisions ofRule 4. A complaint must be filed in this action within the periodprovlded above and that
           complaint must be served in accordance with the provisions ofRule 4 or by registered mail if the plain8ff so elects. If a complaint is not filed
           within the above pe►iod, the action shall abate.




AOC-CV-101, Rev. 7/11                                                       (Over)
                   Case
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                            of the Courts                                 Document 1-2 Filed 05/21/21 Page 2 of 2
